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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Richmond Division


 THE TRUSTEES OF COLUMBIA
  UNIVERSITY IN THE CITY OF
  NEW YORK,

                  Plaintiff,

            V.                                               Civil Action No. 3:13cv808


  GEN DIGITAL INC ●»
  mc/a SYMANTEC CORPORATION,
  f/k/a NORTONLIFELOCK, INC

                   Defendant.


                               FINAL JUDGMENT IN A CIVIL CASE


        This action between Plaintiff The Trustees of the Columbia University in the City of New


 York (“Columbia”) and Defendant Gen Digital, Inc., f/k/a NortonLifeLock, Inc. (“Norton”)*

 came before the Court for a trial by jury, and the jury rendered a verdict on May 2,2022

 regarding U.S. Patent Nos. 8,601,322 (the “’322 Patent”), 8,704,115 (the “’115 Patent”), and

 8,549,643 (the “’643 Patent”). (ECF No. 1206.)

        It is now therefore finally ORDERED and ADJUDGED that:

        1.       Norton directly and literally infringed Claims 2,11, and 27 of the ’322 Patent.

        2.       Norton indirectly infringed Claims 2,11, and 27 of the ’322 Patent through

 induced infringement.

        3.       Norton indirectly infringed Claims 2, 11, and 27 of the ’322 Patent through

 contributory infringement.

        4.       Norton directly and literally infringed Asserted Claim 2 of the ’ 115 Patent.


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         The Court previously issued a Notice explaining that it would refer to the Defendant as
  Norton” on a default basis, and why. (ECF No. 1328.)
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           5.    Norton willfully infringed the ’322 Patent.

           6.    Norton willfully infringed the ’ 115 Patent.

           7.    The infringing product sold to customers located outside of the United States was

 made in the United States.


           8.    The infringing product sold to customers located outside of the United States was

 distributed from the United States.


           9.    Professor Salvatore Stolfo and Professor Angelos Keromytis were joint inventors

 of the ’643 Patent, together with Darren Shou.

           10.   Pursuant to the jury’s verdict, Columbia is awarded a reasonable royalty for

Norton’s past infringement of One Hundred Eighty-Five Million One Hundred Twelve Thousand

 Seven Hundred Twenty-Seven Dollars ($185,112,727.00) for the period from December 6, 2011

 to February 28, 2022. Of this total amount, Ninety-One Million Seventy-Five Thousand Four

 Hundred Sixty-Two Dollars ($91,075,462.00) is for sales to customers located in the United

 States.


           11.   The reasonable royalty includes a royalty for Norton’s sales to customers located

 outside of the United States. Of the total reasonable royalty award, Ninety-Four Million Thirty-


 Seven Thousand Two Hundred Sixty-Five Dollars ($94,037,265.00) is for sales to customers

 located outside of the United States.


           12.   Pursuant to the parties’ stipulation, Columbia is awarded pre-verdict interest for

 the period from December 6, 2011, to February 28, 2022, in the amount of Forty-Six Million

 Four Hundred Twenty-Eight Thousand One Hundred Fifty Dollars ($46,428,150.00). (ECF No.

 1335 (sealed), at 4.)




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        13.     Pursuant to the parties* stipulation, Columbia is awarded supplemental damages

 for “sales of infringing products between March 1, 2022 and the entry of judgment,” to be

 “calculated by applying the jury’s 1% royalty rate to Norton’s revenue for sales of Adjudicated

 Products” during the relevant time frame. (ECF No. 1247, at 7.)

         14.    Pursuant to the parties’ stipulation, Columbia is awarded pre-judgment interest for

 “sales of Adjudicated Products through the date of judgment.” (ECF No. 1247, at 3.) The

 calculation of this prejudgment interest shall proceed according to the terms of the parties’

 stipulation. (ECF No. 1247, at 3.)

         15.    Pursuant to the parties’ stipulation, Columbia is awarded a post-judgment running

 royalty for “sales of infringing products after the date of judgment,” calculated “by applying the

jury’s 1% royalty rate to Norton’s sales of Adjudicated Products after the date of judgment and

 through the expiration of the Asserted Patents.” (ECF No. 1247, at 3.) The calculation.

 accounting, and making of post-judgment running royalty payments shall proceed according to

 the terms of the parties’ stipulation. (ECF No. 1247, at 6.)

         16.    Pursuant to the parties’ stipulation, Columbia is entitled to an award of post-

judgment interest... on the total amount in the judgment, calculated at the statutory rate under
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 28 U.S.C. § 1961(a).        (ECF No. 1247, at 3.)


        ^ Section 1961 reads:

        (a) Interest shall be allowed on any money judgment in a civil case recovered in a
        district court. Execution therefor may be levied by the marshal, in any case
        where, by the law of the State in which such court is held, execution may be
        levied for interest on judgments recovered in the courts of the State. Such interest
        shall be calculated from the date of the entry of the judgment, at a rate equal to the
        weekly average 1-year constant maturity Treasury yield, as published by the
        Board of Governors of the Federal Reserve System, for the calendar week
        preceding[] the date of the judgment. The Director of the Administrative Office
        of the United States Courts shall distribute notice of that rate and any changes in it
        to all Federal judges.
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        17.     Columbia is awarded enhanced damages of 2.6 times the jury’s award of One

Hundred Eighty-Five Million One Hundred Twelve Thousand Seven Hundred Twenty-Seven

Dollars ($185,112,727.00), for a total damages award of Four Hundred Eighty One Million Two

Hundred Ninety Three Thousand Ninety Dollars ($481,293,090.00). (ECF No. 1334.)

        18.     Columbia is awarded reasonable attorneys’ fees related to the post-remand

 litigation misconduct identified in the Court’s Memorandum Opinion re; Columbia’s Motion for

Enhanced Damages Under 35 U.S.C. § 284 and Columbia’s Motion for Attorneys’ Fees Under

35 U.S.C. § 285. (ECF No. 1333 (sealed).) The Parties are ORDERED to meet and confer in

good faith within 30 days from the date of this Final Judgment in an effort to reach a stipulation

on the fee award. In the event the parties cannot reach a stipulation on this issue, the parties may

 file an appropriate fee petition to resolve any further dispute. (ECF No. 1334.)



        (b) Interest shall be computed daily to the date of payment except as provided in
        section 2516(b) of this title and section 1304(b) of title 31, and shall be
        compounded annually.

        (c)
                (1) This section shall not apply in any judgment of any court with respect
                to any internal revenue tax case. Interest shall be allowed in such cases at
                the underpayment rate or overpayment rate (whichever is appropriate)
                established under section 6621 of the Internal Revenue Code of 1986.


                (2) Except as otherwise provided in paragraph (1) of this subsection,
                interest shall be allowed on all final judgments against the United States in
                the United States Court of Appeals for the Federal [CJircuit, at the rate
                provided in subsection (a) and as provided in subsection (b).

                (3) Interest shall be allowed, computed, and paid on judgments of the
                United States Court of Federal Claims only as provided in paragraph (1) of
                this subsection or in any other provision of law.

                (4) This section shall not be construed to affect the interest on any
                judgment of any court not specified in this section.

 28 U.S.C. § 1961.
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         The Court ENTERS FINAL JUDGMENT against Norton and DIRECTS the Court to

 close the case.


         It is SO ORDERED.




 Date: September 30, 2023                                M. Hann
 Richmond, Virginia                                      United S




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